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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF VERMONT


  ADDISON CENTRAL SCHOOL
  DISTRICT, et al.

                 Plaintiffs,                                No. 2:23-CV-164-cr

  v.

  MONSANTO CO., SOLUTIA, INC., and
  PHARMACIA LLC

                 Defendants.

                MONSANTO CO.’S CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1 and Local Rule 7.1, Defendant Monsanto Co. (“Monsanto”)

makes the following disclosures:

       1.      Monsanto is an indirect, wholly-owned subsidiary of Bayer AG.

       2.      Bayer AG is a publicly held corporation and no publicly-held corporation owns

               10% or more of its stock.


       Dated at Burlington, Vermont this 27th day of July, 2023.

                                            MONSANTO CO.

                                     By:     /s/ Alexandrea L. Nelson
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